                Case 3:10-cv-01091-MEJ Document 4 Filed 06/16/10 Page 1 of 2




1    Christine Pham
     Legal Helpers, P.C.
2    260 California Street, Suite 801
     San Francisco, CA 94111
3
     Tel: 1.866.339.1156
4    Fax: 1.312.822.1064
     Email: cph@legalhelpers.com
5    Attorneys for Plaintiff
6
                                     UNITED STATES DISTRICT COURT
7                                  NORTHERN DISTRICT OF CALIFORNIA
                                        SAN FRANCISCO DIVISION
8
     Jennifer Galantini,                                 Case No. 3:10-cv-01091-MEJ
9

10           Plaintiff,
                                                                NOTICE OF DISMISSAL
11   v.                                                           WITH PREJUDICE
12
     GC Services, Limited Partnership,
13
             Defendant.
14

15           Now comes Plaintiff, by and through counsel, pursuant to Federal Rule of Civil

16   Procedure 41(a), and hereby dismisses the present action with prejudice. This notice is being
17   filed before Defendant has served an answer and therefore is appropriate for dismissal absent
18
     stipulation by all parties.
19
                                                 Respectfully submitted,
20

21
                                                 Legal Helpers, P.C.

22                                               By: /s/ Christine Pham
                                                 Christine Pham
23                                               260 California Street, Suite 801
                                                 San Francisco, CA 94111
24
                                                 Tel: 1.866.339.1156
25                                               Fax: 1.312.822.1064
                                                 Email: cph@legalhelpers.com
26                                               Attorneys for Plaintiff
27

28


     NOTICE OF DISMISSAL                             1
     WITH PREJUDICE
               Case 3:10-cv-01091-MEJ Document 4 Filed 06/16/10 Page 2 of 2




1                                     CERTIFICATE OF SERVICE

2           I hereby certify that on June 16, 2010 a copy of the foregoing Notice was filed
3
     electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
4
     system to all parties indicated on the electronic filing receipt. The following party was served
5
     through U.S. Mail:
6

7    GC Services, Limited Partnership
     c/o CT Corporation System
8    350 North St. Paul St.
     Dallas, TX 75201
9

10
                                                                /s/ Richard J. Meier
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     NOTICE OF DISMISSAL                               2
     WITH PREJUDICE
